                                     Professional Background


              University of Illinois at Chicago
                – Director, Center for Health Statistics
                – Professor of Biostatistics, Psychiatry, and Mathematics,
                  Statistics, and Computer Science

              Ph.D., Statistics and Psychometrics
              (University of Chicago, 1981)
              Author, more than 200 peer-reviewed scientific
              papers, five books

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                                     Professional Recognition

              Harvard Award for Lifetime Contributions to Psychiatric Epidemiology and
              Biostatistics (2003)
              Outstanding Statistical Application Award for Contribution to Drug Safety,
              American Statistical Association (2009)
              Youden Award, American Statistical Association for Statistical Contributions
              to Chemistry (2001, 2006)
              Fellow, American Statistical Association
              Member, Institutes of Medicine (IOM), National Academy of Sciences (NAS)
              FDA Advisory Board on Suicide and Antidepressants in Adolescents (2004);
              Safety Science Board, FDA Sentinel Network (2010)
              National Institutes of Mental Health (NIMH), Research Scientist Award
              (1995-2000)
              Veterans Administration, Blue Ribbon Working Group on Suicide
              Prevention (2008)
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                                        Dr. Gibbons’ Opinions

              FDA study does not show that gabapentin causes suicidal
              thoughts or behavior

              Published AED study in bipolar patients: Shows 11 AEDs
              in the FDA study, including gabapentin, do not increase
              the risk of suicide attempts

              Gabapentin study: Gabapentin does not increase the risk
              of suicide attempts in any patient group

              There is no statistical basis for a gabapentin
              suicide warning
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         Dr. Gibbons’ Criticisms of FDA 2008 Study


              FDA finding of increased risk was driven by two
              drugs – topiramate and lamotrigine

              FDA excluded all studies with zero events

              FDA’s conclusions regarding increased risk of AEDs
              cannot be applied to gabapentin

              FDA’s conclusions regarding increased risk of AEDs
              do not apply to all patients

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                                                          FDA Cases of Suicidal
                                                      Thinking or Behavior by Drug
    Gabapentin studies – placebo treatment:
           1 event/2,029 patients
                                                                                                                                                              40
                                                                                                                                                             (7,742)


                                                                       Total Cases = 104
                                                                                                                                     67 Out of
                                                                                                                                     104 Cases
                 of Suicidal Behavior or Thinking




                                                                                                                                                    27
                                                                                                                                                   (2,865)
                         Number of Cases




                                                                                                                                          11
                                                                                                                                         (1,327)
                                                                                                                                 8
                                                                                                                       7       (2,554)
                                                                                                                     (7,201)

                                                                                                              3
                                                                          2        2         2        2      (672)
                                                                 0       (252)   (2,903)   (1,342)   (835)
                                                               (170)




                                                               Source: BasedDocument
                                                    Case 3:05-cv-00444      on May 23, 2008 FDA Statistical
                                                                                        174-2               Review and Evaluation:
                                                                                                 Filed 04/27/10        Page 5 ofAntiepileptic
                                                                                                                                   26 PageID  Drugs
                                                                                                                                                 #: and Suicidality, Pg. 23, Table 13
                                                                                                                                                     4005
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                                           FDA Meta-Analysis:
                                         Odds Ratios for All AEDs
                                                                 No Difference
                 Less Benefit With Drug Than Placebo             Between Drug          Greater Benefit With Drug Than Placebo
                                                                  and Placebo
                       Drug                                                                                    OR (95% CI)              [Sample Sizes]
           Carbamazepine                                                                                       0.65 (0.08, 4.42)         [2/252 3/250]

                Divalproex                                                                                     0.72 (0.29, 1.84)         [11/1,327 9/992]

                Felbamate                                                                                      ND. (ND., ND.)            [0/170 0/170]

              Gabapentin                                                                                       1.57 (0.12, 47.66)        [2/2,903 1/2,029]

              Lamotrigine                                                                                      2.08 (1.03, 4.40)         [27/2,865 11/2,070]

            Levetiracetam                                                                                      2.75 (0.62, 19.36)        [8/2,554 2/1,549]

            Oxcarbazepine                                                                                      1.91 (0.15, 56.33)        [2/1,342 1/827]

                Pregabalin                                                                                     1.88 (0.41, 13.58)        [7/7,201 2/3,125]

                 Tiagabine                                                                                     Inf (0.20, inf)           [2/835 0/608]

               Topiramate                                                                                      2.53 (1.21, 5.86)         [40/7,742 8/3,971]

               Zonisamide                                                                                      2.52. (0.26, 67.94)       [3/672 1/438]


                                                                                                               1.80 (1.24, 2.66)         [104/27,863
                       Overall                                                                                                            38/16,029]


                                              0.1         0.3         1.0         3.2         10

                              Case 3:05-cv-00444
                                         Source: BasedDocument     174-2
                                                       on May 23, 2008      Filed 04/27/10
                                                                       FDA Statistical Review and Page   6 ofAntiepileptic
                                                                                                  Evaluation: 26 PageID       #: and
                                                                                                                           Drugs 4006Suicidality, Figure 2, Pg. 24

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         Rate of Suicidal Thinking and Behavior for
      Topiramate and Lamotrigine vs. Other Nine AEDs
                                                         Lamotrigine and Topiramate
                                             0.7
                                                                 0.63%
                                             0.6
              Thinking and Behavior Events




                                             0.5
                  Incidence of Suicidal




                                             0.4
                                                                                      0.31%
                                             0.3

                                             0.2

                                             0.1

                                                   0
                                                                   Drug             Placebo


                                                                  Source:
                                                 Case 3:05-cv-00444       Based on May
                                                                     Document          23, 2008
                                                                                   174-2        FDA04/27/10
                                                                                             Filed  Statistical Review
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                                                                                                                            of 26 PageID      #: 4007Drugs and Suicidality, Pg. 23

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         Rate of Suicidal Thinking and Behavior for
      Topiramate and Lamotrigine vs. Other Nine AEDs
                                                         Lamotrigine and Topiramate                                 Other Nine AEDs
                                             0.7
                                                                 0.63%
                                             0.6
              Thinking and Behavior Events




                                             0.5
                  Incidence of Suicidal




                                             0.4
                                                                                      0.31%
                                             0.3
                                                                                                                    0.21%
                                             0.2                                                                                        0.18%

                                             0.1

                                                   0
                                                                   Drug             Placebo                          Drug             Placebo


                                                                  Source:
                                                 Case 3:05-cv-00444       Based on May
                                                                     Document          23, 2008
                                                                                   174-2        FDA04/27/10
                                                                                             Filed  Statistical Review
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     Gabapentin vs. Topiramate and Lamotrigine
        Risk Differences Relative to Placebo
                                                                      6
                 Estimates per 1,000 Subjects Relative to Placebo


                                                                                            5.4
                   Suicidal Behavior or Ideation Risk Difference




                                                                      5

                                                                      4

                                                                                                                  3.05
                                                                      3

                                                                      2

                                                                      1
                                                                                                                                                         0.28
                                                                      0
                                                                                     Lamotrigine Topiramate                                       Gabapentin


                                                                                     Source:
                                                                    Case 3:05-cv-00444       Based on May
                                                                                        Document          23, 2008
                                                                                                      174-2        FDA04/27/10
                                                                                                                Filed  Statistical Review
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     Gabapentin vs. Topiramate and Lamotrigine

                                                                      6
                 Estimates per 1,000 Subjects Relative to Placebo


                                                                                             5.4                                     19 Times Greater
                   Suicidal Behavior or Ideation Risk Difference




                                                                      5

                                                                      4

                                                                                                                   3.05              11 Times Greater
                                                                      3

                                                                      2

                                                                      1
                                                                                                                                                        0.28
                                                                      0
                                                                                     Lamotrigine Topiramate                                      Gabapentin


                                                                    Case 3:05-cv-00444Source: Based on 174-2
                                                                                         Document      May 23, 2008 FDA
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                                                                                                                                                                 #: 4010
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                                    FDA Meta-Analysis:
                               Risk Differences for All AEDs
                                                              No Difference
                 Less Benefit With Drug Than Placebo          Between Drug          Greater Benefit With Drug Than Placebo
                                                               and Placebo
                       Drug                                                                                OR (95% CI)               [Sample Sizes]
          Carbamazepine                                                                                     -4.16 (-21.34, 13.03) [2/252 3/250]

               Divalproex                                                                                   -2.75 (-10.68, 5.17)     [11/1,327 9/992]

               Felbamate                                                                                    ND. (ND., ND.)           [0/170 0/170]

             Gabapentin                                                                                     0.28 (-1.37, 1.92)       [2/2,903 1/2,029]

             Lamotrigine                                                                                    5.40 (0.24, 10.57)       [27/2,865 11/2,070]

           Levetiracetam                                                                                    2.13 (-0.54, 4.80)       [8/2,554 2/1,549]

           Oxcarbazepine                                                                                    0.97 (-2.47, 4.41)       [2/1,342 1/827]

               Pregabalin                                                                                   0.52 (-0.77, 1.81)       [7/7,201 2/3,125]

                Tiagabine                                                                                   2.43 (-0.99, 5.85)       [2/835 0/608]

              Topiramate                                                                                    3.05 (0.98, 5.11)        [40/7,742 8/3,971]

              Zonisamide                                                                                    3.09 (-3.80, 9.98)       [3/672 1/438]


                                                                                                            1.79 (0.70, 2.87)        [104/27,863
                      Overall                                                                                                         38/16,029]


                                        -10      -5      0      5      10
                                        Risk Difference per 1,000 Subjects
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                                                                                                                        Drugs 4011
                                                                                                                                 Suicidality, Figure 4, Pg. 26

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             FDA Excluded Studies With Zero Events


              Biases FDA findings toward increased risk

              Ignores significant information about safety

              Creates uncertainty as to drug effect

              Including all gabapentin data gives a more precise
              picture and confirms no risk



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                                                           FDA Conclusions Cannot
                                                          Be Applied to Gabapentin
                                                                      Actual Events Far Fewer Than Expected
                                                             FDA Alert Pooled                     Gabapentin                       Gabapentin
                                                              Analysis Events                   Expected Events                   Actual Events
                                                  110
                                                  100                  104
                                                   90
                 Suicidal Thinking and Behavior




                                                   80
                      Number of Events of




                                                   70
                                                   60
                                                   50
                                                   40
                                                   30
                                                   20
                                                                                                          22
                                                   10                                                                                      2
                                                    0
                                                  Case 3:05-cv-00444Source: Based on 174-2
                                                                       Document      May 23, 2008 FDA
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                       Patient Groups With No Evidence
                               Of Increased Risk
                                     Patient Group


                               Gabapentin Patients                                     NO

                                North Americans                                        NO

                               Psychiatric Patients                                    NO

                                      Women                                            NO

                                    In-Patients                                        NO
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                             Topiramate Drove
                      FDA Finding on GABA Drug Group
                                                                        No Difference
                           Less Benefit With Drug Than Placebo          Between Drug          Greater Benefit With Drug Than Placebo
                                                                         and Placebo
            GABA Drug Group                                                                                               OR (95% CI)

                     GABA Group                                                                                       1.80 (1.24, 2.66)




                                                     0.1         0.3         1.0         3.2         10
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                                                                                                                        Drugs 4015
                                                                                                                                 Suicidality, Figure 7, Pg. 32

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                             Topiramate Drove
                      FDA Finding on GABA Drug Group
                                                                        No Difference
                           Less Benefit With Drug Than Placebo          Between Drug          Greater Benefit With Drug Than Placebo
                                                                         and Placebo
            GABA Drug Group                                                                                               OR (95% CI)

                     GABA Group                                                                                       1.80 (1.24, 2.66)


                      Topiramate
                                                                                                                      2.53 (1.21, 5.85)
                            Only




                                                     0.1         0.3         1.0         3.2         10
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                                                                                                                        Drugs 4016
                                                                                                                                 Suicidality, Figure 7, Pg. 32

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                             Topiramate Drove
                      FDA Finding on GABA Drug Group
                                                                        No Difference
                           Less Benefit With Drug Than Placebo          Between Drug          Greater Benefit With Drug Than Placebo
                                                                         and Placebo
            GABA Drug Group                                                                                               OR (95% CI)

                     GABA Group                                                                                       1.80 (1.24, 2.66)


                      Topiramate
                                                                                                                      2.53 (1.21, 5.85)
                            Only

                       AEDs
                                                                                                                      1.01 (0.51-2.02)
                (GABA Group
                    Without
                 Topiramate)

                                                     0.1         0.3         1.0         3.2         10
                          Case 3:05-cv-00444      Document
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                                                                                                                        Drugs 4017
                                                                                                                                 Suicidality, Figure 7, Pg. 32

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                                    FDA Acknowledges
                               Limitations of Meta-Analysis

                  DR. TWYMAN: I have a question for the
          statisticians. Let’s assume that the effect is generalizable
          to the class of AEDs. But, if you look at the compounds
          individually, could one draw the conclusion individually
          that compounds have a risk, or do you need the entire
          data set of all the AEDs put together in order to draw the
          conclusion that AEDs have a signal?
                 DR. LEVENSON: I would say that we need the
          entire data set in this case.


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                      Gibbons, et. al 2009 Bipolar Study




                                                              The Relationship Between
                                                              Antiepileptics and Suicide
                                                              Attempts in Patients with
                                                                  Bipolar Disorder




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                                         Gibbons, et. al 2009 Bipolar Study
                              Suicide Attempt Rate Almost Six Times Lower After AED Treatment Begins
                                                            Pre-AED                            Treatment
                                                           Treatment                           With AED
                                          70                    72
                                          60

                                          50
            Rate of Suicide Attempts
            (per 1,000 Patient Years)




                                          40

                                          30

                                          20

                                          10                                                        13

                                            0
                                             Case 3:05-cv-00444 Document 174-2 Filed 04/27/10 Page 20 of 26 PageID #: 4020
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                                      Gibbons, et. al 2009 Bipolar Study
                                                                                                      AED
                                                   Not                                             Treatment
                                                Treated Treatment                                   Without
                                               With AED    With                             No    Concomitant
                                               or Lithium  AED                          Treatment Treatment
                                     16
                                                                                             15

                                                    13             13
                                     12
         Rate of Suicide Attempts
         (per 1,000 Patient Years)




                                      8



                                      4
                                                                                                             3


                                      0
                                          Case 3:05-cv-00444 Document 174-2 Filed 04/27/10 Page 21 of 26 PageID #: 4021
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                                        Gibbons, et. al 2009 Bipolar Study

                                       3.0
                                                                                                OR = 0.59 (0.47-0.75), p < 0.0001
                                       2.5
                                                   No AED
          (per 1,000 Persons Months)
            Rate of Suicide Attempts




                                       2.0

                                       1.5

                                       1.0
                                                   AED
                                       0.5

                                       0.0
                                             1      2       3       4       5       6       7       8       9      10       11      12
                                                                                        Month
                                                 Adjusted for age, sex, concomitant medication, previous suicide attempt and year
                                             Case 3:05-cv-00444 Document 174-2 Filed 04/27/10 Page 22 of 26 PageID #: 4022
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           Person-Time Analysis of Highest Risk Group –
        Bipolar Patients With Suicide Attempt in Prior Year




              Restricting analysis to only those patients (n = 662)
              who made a suicide attempt in the year prior to the
              index diagnosis had odds ratio of 0.35 (0.17-0.74,
              p < 0.005)




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                                 Gibbons Gabapentin Study:
                                     Analysis by Group
                                                                    No Difference
                            Less Benefit With Drug Than Placebo     Between Drug      Greater Benefit With Drug Than Placebo
                                                                     and Placebo
                      Diagnosis                                                                             OR (95% CI)
              Bipolar Disorder                                                                             0.66 (0.43-1.00)
                                                                                                              Decreased Risk

            Major Depressive                                                                               0.73 (0.58-0.92)
                    Disorder                                                                                  Decreased Risk

            Other Psychiatric                                                                              0.79 (0.63-1.00)
                    Disorder                                                                                  Decreased Risk

                     Pain Disorder                                                                         1.07 (0.84-1.36)
                                                                                                            No Increased Risk


                                    All                                                                    0.99 (0.80-1.23)
                                                                                                            No Increased Risk



                                                    0.3      0.65       1.0         2.0    3.0
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                                                  Gibbons Gabapentin Study:
                                                     Person-Time Analysis
                                        10
                                                                                                  OR = 0.73 (0.55-0.97), p < 0.03
                                                   No Gabapentin
                                         8
         (per 100,000 Person Months)
           Rate of Suicide Attempts




                                         6


                                         4
                                                     Gabapentin
                                         2


                                         0
                                             1      2       3       4      5       6        7      8       9      10       11       12
                                                                                    Month
                                       Adjusted for age, sex, concomitant medication, diagnoses, previous suicide attempt, year and month
                                             Case 3:05-cv-00444 Document 174-2 Filed 04/27/10 Page 25 of 26 PageID #: 4025
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                          Gibbons Gabapentin Study:
                       Risk of Suicide Attempt by Group
                                Patient Group                                     Result


                                 Bipolar                                  Decreased Risk

                       Major Depression                                   Decreased Risk

                                Epileptic                                  Increased Risk

                                    Pain                                   Increased Risk

                               All Patients                                Increased Risk
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